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                        IN TIIE UNITED STATESDISTRICTCOURT
                              FORTI{EDISTRICTOF KANSAS

atvmliDACHURA" et al.,

       Plaintiffs,

                                                    CaseNo. 1I-2090-CM-DJW


DELMAR GARDENSOF LENEXA,
NC.,

       Defendant,

                      pEFEND{NTjS.BESPONSE TO pLArNTmrS'
                         F'IRSTSETOX'INTERROGATORIES

       COMES NOW Defendant Debnar Gardens of Lenexa" lnc. and for its Responseto

PlaintiffAmanda Chura's First Requestfor Production of Documents,statesas follows:

                                    INTERROGATORIF.S

       InterrogatoryNo. 1: Identify each personwho nray have knowledge of the facts

concerningthe allegationsin the Complaint or the Answer, and stateyour understandingof their

knowledge.

       AnsweS

       (a)    Jim Drozda, Facility Administator for Delmar Gardens,may have infornmtion
regarding Plaintiffs' allegations of harassment Plaintiffs' allegations of retaliation, Plaintitr
AmaadaChura'sclaim of constructivedischarge,PlaintiffDavid Gilstrap'sclairn of violation of
the Family Medical LeaveAcf PlaintiffGilstrap's allegationsof violationsof the FederalLabor
StandardsAct and the Kansas Wage Payment Act, Plaintiffs' conduct and tle responseof
Dehnar Gardensto Plaintiffs' allega.tionsof harassment.

         O)     Kathv Hamann Human ResourcesDirector, may have information regarding
Plaintiffs' allegations of harassment,Plaintiffs' allegations of retaliation, Plaintiff Amanda
Chura's claim of constructive discharge, Plaintiff David Gilstrap's claim of violation of the
Family Medicai Leave ACT, Plaintiff Gilshap's allegationsof violations of the FederalLabor
StandardsAct and the Kansas Wage Payment Act, Plaintiffs' conduct and the responseof
Delrnar Gardensto Plaintiffs' allegationsof harassment.
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         (c)   Tanya Bennetl Human Resourcss Manager/?ayroll Coordinator for Delmar
Gardens, may have information regarding Plaintiffs' allegations of harassmen! Piaintiffs'
allegations of retaliation, Plaintiff Arnanda Chura's claim of consbuctive discharge, Plaintitr
David Gilstrap's claim of violation of the Family Medical Leave ACT' Plaintitr Gilshap's
allegationsof violations of the Federal l"abor StandardsAct and the KansasWage PaymentAc!
Plaintiffs' conductand tho responseof Dehnar Gardensto Plaintiffs' allegationsof harassment.

        (d)   Erica Riano. Admissions Coordinator for Delmar Gardens,may have hformation
regarding Plaintiffs' allegations of barassmen! PlaintiffAmanda Chura's claim of conshuctive
discharge,andPlaintiff Churaosconduct.

        (e)    Pam Shipman" Vice President of Operations for Delmar Gardens, may have
inforrnation regarding Plaintiffs' allegations ofharassrnenl Plaintiffs' allegations ofretaliation,
Plaintiff Amanda Chura's claim of conslructive dischargeoPlaintiff David Gilstap's claim of
violation of the Family Medical Leave Act, Ptaintiff Gilstap's allegations of violations of the
Federal tabor Standards,Act and the Kansas Wage Payment Act, Plaintiffs' conduct and the
responseof Delmar Gardensto Plaintiffs' allegationsof hmassment.

       (f)    Charles Whaley, former Maintenance Worker for Delmar Gardens, may have
information regarding Plaintiff David Gilstmp's job perfonnance.

       (g)     Alejandro Rodrieuez, Floor Technician for Dolmar Gardens, may have
inforno.ationregarding Plaintiff David Glstrap's job performance.

       (h)     Moises Palos. Floor Tecbnician for Delmar Gardens, may have information
regarding Plaintiff David Gilstrap's job perfomrance.

       (D      Mike Mumau, Environmental Director for Delmar Gardens, may have
inforrnation regarding Plaintiff David Gilstrap's job perfonnance.

        O      Kellv Leech, former Director of Nursing for Delrnar Gardens, may have
inforrnation regardingPlaintiffArnanda Chura?sjob performanceand resignation.




       InterrogatorT Ng.-?: For the pastten years,identifr all personswho haveworkedor

worked at DefendantDeLnar Gardensof Lenexa (hereafter"Employer') wlro have made

complaintsof employmentdiscrimination,a hostile work environment,or retaliation,against
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Employer, its omployees,managers,supervisorsand/or officers, set forth the allegationsof each

complaint in detail and describein detail any action taken by Enployer in responseto each such

complaint. o'Complaints" include infomral complaints, verbal complaint, written complaints,

lawsuits, agency filings, and any other means by which eurployees have attempted to

commtmicateconceming employmentdiscriminafion, a hostile work envirorunentor retaliation-

       Answer:

      (a) Andre White filed a Charge of Discrimination with the Kansas Human Rights
Commission in Septemberof 2009, allegng race discrimination against Delmar Gardens of
Lenexa- The KansasHumanRights Commissionissueda finding, on February10, 2010, of no
probable cause.

        (b) Darell English complained about harassingbebavior on the part of then Direstor of
Nursing Kelly Leech, in late 2009iearly 2010. Kelly Leech was suspendedpending an
investigating into the complaint, but resiped her position prior to the investigation being
completed.

        (c) Amanda Chura filed a Chargeof Discrimination with the EEOC alleging hostile work
environment sexual harassmentand retaliation. Chura filed a lawsuit in the United States
District Court for the District of Kansasafter requestingand receiving a Right to Sue Noticp for
the EEOC.

       (d) Betty Cook filed a Charge of Discrimination with the EEOC alleging hostile work
environment sexual harassmentand retaliation. Chura filed a lawsuit in the United States
Dishict Court for tlre Disfoict of Kansasafter requestingand receiving a Right to SueNotice for
theEEOC.

        (e) David Gilstrap (filed a Charge of Discrimination with the EEOC alleging hostile
work environment sexual hmassment,retaliation and age discrimination. Gilshap filed a lawzuit
in the United States District Court for the District of Kansas after requesting and receiving a
Right to SueNotice for the EEOC.
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         Interrogatory No. 3: Set forth in detail which of PlaintiffChur4 Cook and/or Gilstap's

(collectively referred io as Plaintiffs')   allegations of discrimination, harassment and/or

retaliation set forth in the Complaint Employer was awaxe of prior to the service of the

Complaint in this lawsuit, Identify the employee(s) or individual(s) who were aware of such

facts, the source of their knowledge, the facts of which each such employee or individual was

awme, and Defendants' responseto suchfacts, if any.

        1@gf            Prior to the service of the Complaint in this lawsuit, Delmar Gardsnswas
made aware of some of the allegations raised in the Plaintiffs' Complainant after the Plaintiffs
filed separateChargesof Discrimination with the EEOC. While Plaintiff Chura and Plaintitr
Cook each submitteda written "complaint" prior to filing their Chargeg the allegationsraised by
PlaintiffChura and Plaintiff Cook in those complaints, and in their subsequentdiscussionswith
Jim Drozda and Kathy I{amann, failed to raise claims of sexual harassment and/or
discrimination. Defendant reservesthe right to supplernentits responseto Interrogatory No. 3
after furtler investieation and discoverv.




        Interrogatory   No. 4r    If Employer received a communication from Plaintiffs or

Plaintift'   counsel demanding that documents, electronically stored information or both be

preserved,stateihe date on which such communication was received,and set forrh in detail what

steps Employer took to preserve docurnentsand/or electronioally stored information , including

withow limitation, rernoving computes from use by employees,imaging or copying media,

stopping the routine overwriting or destruction ofbackup medi4 retaining a forensic eonsultant,

searching for files, searching for deleted files, advising employees of the need to preserve

documentsand/or electronically storedinfonnation.

       Answer:        Defendantobjectsto RequestNo. 4 as it seeksinformation not relevantto
the issues in this lawsuit, nor reasonably calculated to lead to the discovery of admissible
evidence and to the extent that it seeks documents protected by the attorney-client privilege.
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Subjectto andwithout waivingsaidobject,Defendantstatesthat it wasinstructedby Cormselio
take stepsto preserveall evidencethat is potentiallyrelevantto this litigatioq including all
documents, recordings,elecfronicallystoredinformation,andphysicalobjects.




       Interrosatorv No. 5: Identify eachindividual who participatedin any investigation

initiatedby Employer'sresponse
                             to Plaintiffs' complaintsof discrimination,harassmen!and/or

retaliationanddescribethe actionsofsuch individualsin detail.

        Answer:       Jim DrozdaandKathyHamanninvestigatedtheallegationsraisedby both
Plaintiff Churaand PlaiDtiff Cook's in their October2009written complaintsregardingTanya
Bennett. Both Drozdaand Harnannspokewith Churaand Cook separatelyto addresstleir
individual concenu. Following thsse conversations,Drozda and Hamannmet with Tonya
Bennettto addressthe issuesraisedby Chura and Cook. Defendantreservesthe right to
supplement  its responseto IntenogatoryNo. 5 a.fterfurtherinvestigationanddiscovery.




       Inlerrosatory   No. 6:    If the answer asserts an affrnnative defense that Employer

exercised reasonable care to prevent and promptly correct any discriminatory or harassing

behavior, and tlre Plaintiffs unreasonablyfailed to take advantageof any preventive or corroctive

opportr:nities provided by Employer to avoid harm, describe in detail exactly how Employer

exercisedreasonablecare to prwent the discrimination, retaliation and/or harassment,including

any faining or documentsdishibuted to employees,how Employer correctedany such activity,
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and specificallyhow Plaindffs unreasonablyfailed to take advantageof any preventiveor

conectiveopportmitiesprovidedby Employerto avoidhann.

         Answer:        Defendanthas in placea SexualHarassmentPolicy which providesfor a
reportingmechanism.Plaintiffsreceivedthe SexualHarassment    Policy,yet failedto utilize prior
to the filing of their Chargesof Discriminationandsubsequent
                                                          Complaint.




       Intg.rlpgato{vNo.7: Describefirlly andin detail(includingthenamesandpositionsof

the individualsinvolved,and the relevantdates)what steps,if any, Employertook to prevent

retaliationagainstPlaintiffs.

       ;@:            Defendant
                              objectsto Intenogatory
                                                   No. 7 asbeingambiguous,Subjectto

andwithoutwaivingsaidobjecgDefendantappliedits SexualHarassment
                                                             Policy.




       Interrosatorv No. 8: If Plaintiffs were terrrinated, state specifically the reasonfor each

plaintiffs ternrination, including witlrout limitatiou, any alleged performancedeficiencies, and

identify all personswho witnessedtheseperformancedeficiencies.

       Answer:          Plahtiff Chura submitted a written resignation letter on December 30,
2009, which statedthat her last day of work was to be January31, 2010. Plaintitr Cook's
employm.entwas terrninatedas a result of her inadequatejob perforrnance,as woll as a violation
of HIPAA. Plaintiff Gilstrap's employment was terminafed as a result of his poor performance,
repeated disciplinary problems, negafive and insubordinate attitude ioward his supervisors,as
well as for his inability to follow his physician'smedicalrestrictionsfollowing the injury to his
hand.
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       Interrogator No, 9: Identiff eachemployeewho workedat Employerduringthe period

coveredby the Cornplaintand prcvide the last known contactinformationfor eachperson

identjfied,includingtelephonenumberandcellularphonenumber,if available.Indicatewhether

eachpersonidentifiedin the responseto this Intenogatorycurrentlyis employedby Employer

andwhetheror not anycurrentemployeeidentifiedis a supervisor,

       Answerl       Defendantobjectsto IntenogatoryNo. 9 on the groundsthat it is overly
broad unduly burdensome,   vague,ambiguous,irrelevanl invadesthe privacy rights of thfud-
partiesandnot reasonably calculatedto leadto the discoveryof admissibleevidence.Defendant
reservestheright to supplernent
                              its responseto IntenogatoryNo. 9 afterfrrther investigationand
discoverv.




       lnlerrosaton No- 10: FromJunel, 2008tbroughJanuary31,2010,pleaseidentiSall

supervisorsandmanagers
                     who wereresponsiblefor investigatingor addressiag:(1) writtenand

verbal reprimandsof AmandaChura;(2) Ms. Chura'swork schedule;(3) Ms. Chura'swork

perforrnance;
            (a) Ms. Chura'scomplaintsconcerningthe work environmentat DGL; and(5) lv[s.

Chura'scomplaintsof retaliation.

       Answer:

      (1) JimDrozda,FacilityAdministrator

       (2) Directorof Nursing- Kelly Leech,thenKimbraRoseberg

      (3) Facility Administrator,Jim Drozd4 and Director of Nursing- Kelly Leech,then
          KimbraRoseberg

       (4) FacilityAdministuator,
                               Jim Drozda,andHumanResources
                                                          Director,KathyHamman
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       (5) If DelmarGardenshadreceiveda complaintof retaliationby Plaintiff Churaprior to
           her May 2010 Chargeof Discrimination,  Facility Administrator,Jim Drozda,and
           Human ResourcesDirector, Kathy Hamman,would have been responsiblefor
           investigatingandaddressing
                                    complaintsof retaliation.

       Defendantreservesthe right to supplementits responseto IntenogatoryNo. 10 after
furtherinvestigationanddiscovery.




       Interoeatorv No. lL:     From June 1, 2008to January31, 2010,pleaseidentifuall

written or verbal complaintor problemreceivedby you concemingor relatedto Ms. Chura,

providing:(1) the identify of the personmakingthe complaint;(2) the dateit wasmade;and(3)

statewhetherandwhenyou inforned Ms. Churaof the complaintor problem.

       Answer:       Defendantobjectsto IntenogatoryNo, 1l on the groundsthat therequest
seeksinformationnot relevantto the issuesin this lawsuit nor reasonablycalculatedto leadto
the discoveryof admissibleevidence. Subjectto and without waiving said objectioq Erica
Riano complainedthat it Plaintiff Churawas difficult to work with when Plaintiff Churawas
assistingRianoto adjustto ttreAdmissionsCoordinatorposition. Defendantreservestheright to
supplement its response
                      1oI:rtenogatoryNo, 1l afterfurtherinvestigationanddiscovery.




       Inter:roeatorv No. 12: From June 1,2008 to January31,2010..identi$ eachand every

s6mm'mication conceming Ms. Chura's hire, iob perforrnance,wages, complaints or

investigatiorc into any of Ms. Chura's complaints, betweenany of your agents,representatives,

ofificers, man&ge.rs,or employoes, stating the dating of the communication; the author or

participation(s) of the communication, any assumed name(s) or alias/es of the author or
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participan(s),the addressandbusinessphonenumberof the authoror participant(s),the coni,ent

                    the purposeof the communication,
of the commuoication,                              andwhetherthe communicalion
                                                                             was

oral or written.

      Answer:        Defendantobjectsto InterrogatoryNo. 12 on the basis that it seeks
informationprotecledby the attorney-clientprivilege and the attomeywork productdoctrine.
Subjectto andwithout waivingsaidobjeotions,communicatious    regardingMs. Chura'shire,job
perfomance,wages,and complaintsor investigationsinto complaintsare enclos€din Ms.
Chura'spersonnelfile. Defendantreservesthe right to supplement  its responseto Interrogatory
No. 12afterfluther investigationanddiscovery.




       Interrogatorv No. 13: Fmm June1, 2008to present,statewhetheryou havecontaoted

any third p€rsons,includingMs. Chura'sneighborsor relalivesin connectionwith Ms. Chura's

hire, employmengcomplaints,resignationor for anyotherreason,andidentifytlre date,nameof

eachpersoninvolved with the contact,the purposeof eachcontact,and a summarywhat was

           to you andthe third person,
communicated

       Answer:       Defendantobjectsto InterrogatoryNo. 13 on the groundsthat the request
seeksinformationnot relevantto the iszuesin this lawsuit,nor re€rsonably  calculatedto leadto
the discoveryof admissibleevidence,tlat it invadesthe right to privacyof third parties,andto
the extentit requestsdocurnentsprotectedfrom disclosureby the attomey-clientprivilege or
work productdocl'ine. Defendantreservesthe right to supplement    its responseto lnterrogatory
No. 13afferfirther investrgation
                               anddiscovery.
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       Interrosatory No. 14: Pleasestate whether any of your cuffent or former employees

who worked at your [.enexa, Kansasnursing horne received any disciplinary action, reprimand

or memorandumof concernregarding any allegationscontainedin PlaintifiPscomplaint

       Answer:       None. Defendant reseryes the right to supplement its response to
lntenogatory No. 14 after flrrther investigation and discovery.




      InterroeatoryNo. 15: Pleasestatethenetworthof DGL,

       Answer:       Defendantobjectsto IntenogatoryNo. 15 on the groundsthat the request
seeksinformationnot relevantto the issuesin tlis lawsuit nor reasonablycalculatedto leadto
the discoveryof admissibleevidence. Defendantfurtherobjectsto IntenogatoryNo. 15because
suchinformationis not discoverable
                                 asto Defendantor Plaintiffs employer,DelmarGardensof
Lenexa,Inc., prior to the Court making a preliminary finding tbat Plaintiff can presenta
submissibleclaim for punitivedamages.


                                         Respectfi.rlly
                                                     submitted,

                                         HESSEMARTONE,P.C



                                         By:       /s/ AndrewJ. Martone
                                                 AndrewJ. Martone,#78217
                                                 1650DesPeresRoad,Suite200
                                                 St.Louis,MO 63131
                                                 (314)862-0300 - Telephone
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                                                                           om

                                                 Attorneysfor Defendant
                                                 DeltnmGardensof Lenew Inc.




                                            10
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                           CERTIFTCATEOFSERYICE

     Therurdersigneddoesherebycerti$ that a copyofthe foregoingwassontvia First Class
U.S.Mail, poslage
                prepaid,on this5thdayof July,2011,to thefollowing:

      Mchael A. Williarns
      WilliamsLaw,LLC
      1100Main Steel Suite2600
      KansasCity,MO 64105
      mwilliams@williamslawllc.
                             com


                                                     /s/ Andrew J. Martone




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            Tte below-namedpason, being fust duly sworn, affirms having read fie

      foregoing interrogatoriesand that the rnswers glven are true bo the best of affants

      knowlodgeard belief,




            Subscribedandswomto beforeme




     My ConrmissionExpires:




     (16896.Doc
              )
